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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

In re:
                                                                      Case No. 16-25954- LMI
                                                                      Chapter 7
JORGE HANE,

              Debtor.          /

COLTEFINANCIERA, S.A. and                                            Adv. Pro. No. 17-01234-LMI
BLUE BANK INTERNATIONAL, N.V.,

              Plaintiff,

v.

JORGE HANE,

              Defendant.           /

                   REPLY TO BLUE BANK’S RESPONSE TO MOTION FOR
                           PARTIAL SUMMARY JUDGMENT

         Defendant Jorge Hane (“Defendant”) files this Reply to Plaintiff Blue Bank International,

N.V.’s (“Blue Bank”) Response (the “Blue Bank Response”) (D.E. #61) to Defendant’s Motion for

Partial Summary Judgment (the “Summary Judgment Motion”) as to Count I of Blue Bank’s Amended

Complaint for Determination of Dischargeability and Objecting to Debtor’s Discharge pursuant to

Sections 523 and 727 of the Bankruptcy Code and states as follows:

         I.     APPLING IS FATAL TO BLUE BANK’S DISCHARGEABILITY CLAIM

         In its Amended Complaint and in the Blue Bank Response, Blue Bank repeatedly insists that

it is pursuing its dischargeability claims under §523(a)(2)(A). To the extent there is any doubt Blue

Bank has proceeded exclusively under §523(a)(2)(A) and not under §523(a)(2)(B), such doubt is

readily eliminated by a simple review of Blue Bank’s pleadings. In the Amended Complaint, the

Plaintiff expressly cites §523(a)(2)(A) as the statutory basis for Count I. Amended Complaint, ¶17. In

the introduction to the Blue Bank Response, Blue Bank states “[i]n Count I, Blue Bank alleges that the

Debtor obtained a $300,000.00 loan based on false pretenses and material omissions under

§523(a)(2)(A),” Blue Bank Response, p.2, and that “there are genuine issues of material fact that
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preclude summary judgment on this fraud count under Section 523(a)(2)(A). Id. at p.3. Blue Bank’s

claim under Section 523(a)(2)(A) further relies upon the standard associated with that section. By way

of example, Blue Bank asks the Court to apply a “justifiable reliance” standard applicable to

§523(a)(2)(A) fraud claims rather than the “reasonable reliance” standard applicable to §523(a)(2)(B)

fraud claims. Id. at p.13, n.4. In short, Blue Bank has repeatedly elected to seek a nondischargeability

judgment against the Defendant exclusively under §523(a)(2)(A) and the Court should evaluate the

validity of its claims solely under this subsection.

        Blue Bank’s §523(a)(2)(A) claims fall apart when analyzed under Lamar, Archer & Cofrin,

LLP v. Appling, 138 S. Ct. 1752 (2018) which affirmed 11th Circuit precedent and held that debts

incurred by use of statements respecting the “financial condition” of a bankruptcy debtor cannot

proceed under §523(a)(2)(A). Appling, 138 S. Ct. at 1758-59. All of the allegedly false statements

referenced in Blue Bank’s affidavit in opposition to the Summary Judgment Motion (the “Zambrano

Affidavit”) relate to the “financial condition” of the Debtor. The (a) the October 29 Email1 to

Mezerhane; (b) the November 4 Emails; and (c) the Blue Bank Google Research all clearly are with

respect to the financial condition of the Debtor. As addressed below the new allegation in the Blue

Bank Response that the Commitment Letter contained false statements is on its face a statement in

writing respecting the “financial condition” of the Debtor.

        Indeed, the Zambrano Affidavit provides the following overview of Blue Bank’s position: “in

sum, Blue Bank asserts based on the evidence in its business records that the Debtor made misleading

representations to Blue Bank about himself and his companies in order to obtain a $300,000 loan to

JorgeHane Laboratories Corp.” Zambrano Affidavit, ¶4 (emphasis added). Appling forecloses Blue

Bank’s ability to bring these claims under §523(a)(2)(A) since they are all “statements in writing

respecting the debtor’s financial condition”, and this alone should be sufficient to grant the Summary

Judgment Motion.




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        Unless otherwise indicated, capitalized terms have the same meaning as in the Summary Judgment Motion.
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        The Blue Bank Response’s efforts to shoehorn its claims into §523(a)(2)(A) are not persuasive.

Blue Bank states that it

                 is not claiming that the dischargeability of the Debtor’s debt
                 should be denied because of a materially false and entirely oral
                 statement respecting an insider’s financial condition. Instead
                 Blue Bank’s claim it [SIC] that Hane created an image of a
                 successful multinational company by false pretenses and
                 failure to disclose material facts…Here, the Debtor
                 fraudulently concealed the material facts that his products were
                 bogus and falsely advertised, that he did not have operations in
                 the countries he claimed and that there was an ongoing
                 Colombian government investigation into Hane’s false
                 advertising…

Blue Bank Response, p. 11-12 (emphasis omitted). Blue Bank would thus ask the Court to believe that

under Appling, a false statement respecting a debtor’s financial condition triggers application of

§523(a)(2)(B) but the creation of a false image respecting a debtor’s financial condition does not. This

is a nonsensical statutory construction and would lead to absurd results.2 It certainly does not achieve

the policy goal of §523(a)(2)(B) to “promote accuracy and predictability in bankruptcy disputes that

often take place years after the facts arose.” Appling v. Lamar, Archer & Cofrin, LLP (In re Appling),

848 F.3d 953, 960 (11th Cir. 2017).

        Finally, in a last-ditch effort to salvage its dischargeability claims, Blue Bank suggests that

even if the Defendant is correct that Blue Bank cannot proceed under §523(a)(2)(A), “Blue Bank has

identified written misrepresentations that would satisfy that tougher rule [of §523(a)(2)(B)].” Blue

Bank Response, p. 13. This is far too little and far too late. As extensively detailed above, Blue Bank

has plead and argued its case under §523(a)(2)(A) from very beginning of this adversary proceeding

and attempts to pivot only now when faced with a summary judgment motion fatal to its cause. It had

ample opportunities to amend its pleadings and state a cause of action traveling under an applicable




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         For example, under Blue Bank’s proposed construction, a borrower who exaggerates his wealth by driving
fancy cars is exposed to §523(a)(2)(A) treatment but a borrower who states “I drive fancy cars” gets the benefit of
heightened §523(a)(2)(B) treatment. This makes no sense.
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subsection. Blue Bank elected not to do so.3 The Court should not countenance this eleventh hour

salvage operation as discovery is now closed, the deadline to bring claims contesting dischargeability

has long since passed, a summary judgment motion has been filed and the case is nearing trial.

        II.      THE COMMITMENT LETTER

        The Summary Judgment Motion relies upon the Blue Bank Interrogatory Response in which

Blue Bank identified three alleged written misstatements by the Debtor: (a) the October 29 Email to

Mezerhane; (b) the November 4 Emails; and (c) the Blue Bank Google Research. The Blue Bank

Response now introduces a fourth allegedly false writing in the form a November 4, 2018 Commitment

Letter (the “Commitment Letter”) which is attached as an exhibit to the Blue Bank Response. This

Commitment Letter contains the following alleged relevant representations:

                 iii.    That since the date of the last financial statements
                 submitted to the Bank, there has been no material adverse
                 changes in the financial condition of the Borrower, contingent
                 or otherwise, which are not reflected in the last Balance Sheet
                 submitted to the Bank.

                 iv.      That at the time of the signing of this letter, there is no
                 litigation or other proceeding pending against the Borrower and
                 that the Borrower is not in default with any order, injunction,
                 decree or demand of any Court, Tax Authority or
                 Governmental Agency.

Commitment Letter, p. 3. Blue Bank alleges that these were false written misrepresentations which

should except Blue Bank’s claim from discharge.

        The Court should reject this argument for a number of reasons. First, Blue Bank did not identify

the Commitment Letter as containing false representations in its Amended Complaint or in the Blue

Bank Interrogatory Response. Specific reference to the Commitment Letter in the Amended Complaint

would have been required to satisfy the Fed.R.Civ.P. 9(b) pleading requirements for fraud claims. See

United States ex rel. Steury v. Cardinal Health, Inc., 625 F.3d 262, 266 (5th Cir. 2010) (explaining


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         For the reasons detailed below, the Defendant believes this was a conscious choice by Blue Bank because
the alleged written misrepresentations are trivial and Blue Bank will never be able to prove elements such as
reasonable reliance and proximate cause.
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Rule 9(b) “requires, at a minimum, that a plaintiff set forth the who, what, when, where, and how of

the alleged fraud.”). Identification of the Commitment Letter was also required to have been included

in the Blue Bank Interrogatory Response. In light of the foregoing, the Court should not consider the

Commitment Letter as a basis to deny summary judgment. See City of New Orleans v. AMBAC Assur.

Corp., 2014 U.S. Dist. LEXIS 172508, *6 (E.D. La., December 12, 2014) (excluding long known

affirmative representations supporting fraud claim when not referenced in plaintiff’s complaint due to

lack of compliance with Rule 9(b)); see also Fed.R.Civ.P. 37(c) (providing for the exclusion of

evidence not disclosed in interrogatory responses); Goodman-Gable-Gould Co. v. Tiara Condo.

Ass'n, 595 F.3d 1203, 1213-14 (11th Cir. 2010) (upholding trial court’s exclusion of evidence based

on plaintiff’s unjustified disclosure failure in interrogatory response).

        Second, there is no indication in the Blue Bank Response or Zambrano Affidavit explaining

why these statements are false. According to Blue Bank, there was a governmental investigation into

JorgeHane Laboratories Corp.’s advertising practices at the time the Commitment Letter was signed.

Blue Bank Response, p. 2. Blue Bank, correctly, does not allege that an actual governmental proceeding

had been initiated or that a fine had actually been issued. Accordingly, the Commitment Letter was

entirely accurate: at that time, there was no “litigation or other proceeding pending against” JorgeHane

Laboratories Corp. and Jorge Hane Laboratories Corp. was not “in default with any order, injunction,

decree or demand of any Court, Tax Authority or Governmental Agency.” Also, “since the date of the

last financial statements submitted to [Blue] Bank” there had “been no material adverse changes in the

financial condition of [Jorge Laboratories Corp.], contingent or otherwise, which are not reflected in

the last Balance Sheet submitted to the Bank.”4 There is no factual contention in the Blue Bank




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         Neither the Blue Bank Response nor the Zambrano Affidavit state when JorgeHane Laboratories Corp.
provided its last financial statement nor is such a financial statement attached. Based on deposition testimony, it
appears this occurred in late October 2015 – just days before execution of the Commitment Letter. See Blue Bank
Deposition, 43:23-25. Blue Bank has provided no evidence to support a contention that there was a material change
in JorgeHane Laboratories Corp.’s financial status during this short window of time.
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Response or the Zambrano Affidavit to the contrary. Accordingly, the Commitment Letter should not

defeat summary judgment.

       III.    REASONABLE RELIANCE AND PROXIMATE CAUSE

       Blue Bank alleges that the elements of reasonable reliance and proximate cause are questions

for trial and should not be considered at the summary judgment stage. However, as stated in the

Summary Judgment Motion, “summary judgment should be granted where the nonmoving party fails

to offer evidence from which a reasonable jury could return a verdict in its favor." Triton Energy Corp.

v. Square D Co., 68 F.3d 1216, 1222 (9th Cir. 1995). For Blue Bank to prevail on a §523(a)(2)(B)

claim (should the Court even consider a claim under this subsection), it would need to show that it

loaned the Defendant $300,000 based on (a) a one sentence email to an individual not involved in due

diligence that contained an attachment with a two paragraph overview of the Debtor’s business (the

October 29 Email); (b) the image on the Defendant’s email signature (the November 4 Emails); and

(c) Blue Bank’s credit manager’s online research relating to the Defendant (the Blue Bank Google

Searches). Blue Bank will need to prove that its reliance on this material was reasonable and the

proximate cause of its decision to lend $300,000 to JorgeHane Laboratories Corp.

       The Defendant submits that no reasonable trier of fact could rule in Blue Bank’s favor on this

claim. Mr. Zambrano (Blue Bank’s Rule 30(b)(6) designee) testified at his deposition that Blue Bank

has an extensive lending portfolio and holds over $70 million dollars in assets. Blue Bank Deposition,

18:17-19:7. Blue Bank has a five-member credit committee, Id. at 26:8-26:10, and Mr. Zambrano

outlined an extensive, multi-step due diligence and verification process which Blue Bank undertakes

when considering a credit application. Id. at 21:23-27:25. It is simply inconceivable that the written

materials referenced by Blue Bank will satisfy the elements of reasonable reliance and proximate cause.

       IV.     THE ZAMBRANO AFFIDAVIT IS INADEQUATE                                 BECAUSE        MR.
               ZAMBRANO LACKS PERSONAL KNOWLEDGE

       Finally, the Zambrano Affidavit is inadequate to oppose the Summary Judgment Motion,

particularly as it pertains to Blue Bank’s claims of reasonable reliance and proximate cause. The
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Zambrano Affidavit states that Mr. Zambrano joined Blue Bank in 2006. Zambrano Affidavit, ¶2. This

appears to be a typographical error as Mr. Zambrano testified at his deposition that he was first

employed by Blue Bank in 2016. See Blue Bank Deposition, 7:9-7:11 (“Q. To be clear, you began

your employment with Blue Bank in August of 2016? A. Correct.”). As a result, Mr. Zambrano

has no personal knowledge whatsoever regarding Blue Bank’s decision to loan money to

JorgeHane Laboratories Corp. in 2015. This was conceded through the following exchange at his

deposition, where Mr. Zambrano testified that all of his information on the matter derives from

reviewing the loan file and speculating as to what information Blue Bank likely relied on:

               Q.    Do you have knowledge about the process that Blue
               Bank went through in order to decide to give those loans?

               A. Well, I was not there in 2015 when the loan was approved,
               but it must follow the established procedure, besides -- also
               besides by the regulating entity.

               Q. Okay. So is it fair to say that you have knowledge about
               the procedures of Blue Bank generally in considering loans?

               A. Correct.

                Q. But not specifically about the process that went into
               approving loans to Mr. Hané's businesses?

               A.       As a managing director, I knew – I mean, I checked
               the files.

Blue Bank Deposition, 13:8-24.

       Fed.R.Civ.P. 56(c)(4), made applicable to this proceeding by Bankruptcy Rule 7056,

requires that “an affidavit or declaration used to support or oppose a motion must be made on

personal knowledge, set out facts that would be admissible in evidence, and show that the affiant

or declarant is competent to testify on the matters stated.” "Under the 'personal knowledge'

standard, an affidavit is inadmissible if the witness could not have actually perceived or observed

that which is testified to." FTC v. Home Assure, LLC, 2010 U.S. Dist. LEXIS 49875, *3 (M.D.
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Fla. April 26, 2010) (internal citation omitted); see also Gagne v. Northwestern Nat’l Ins. Co., 881

F.2d 309, 315-16 (6th Cir. 1989) (holding that statements in affidavits that are not based on

personal knowledge and personal observation do not contain facts that are admissible evidence for

summary judgment purposes). In reviewing motions for summary judgment, courts may not

consider affidavits or declarations that do not comply with these requirements. El Deeb v. Univ.

of Minnesota, 60 F.3d 423, 428 (8th Cir. 1995)

       As noted above, all Mr. Zambrano knows is that the October 29 Email, the November 4

Emails and the products of the Blue Bank Google Research were found in Blue Bank’s loan file

for JorgeHane Laboratories Corp. However, he does not have any personal knowledge as to the

role these documents played in Blue Bank’s credit decision in 2015 and cannot sufficiently attest

to the fact that these documents were the proximate cause of Blue Bank’s damages or that Blue

Bank reasonably relied on them. It is entirely possible, for all Mr. Zambrano knows, that the Blue

Bank credit manager who actually evaluated the JorgeHane Laboratories’ application in 2015

placed these documents in the loan file but entirely disregarded them while performing Blue

Bank’s due diligence. Accordingly, Mr. Zambrano’s affidavit fails to satisfy Rule 56 and should

be disregarded by the Court.

       V.      CONCLUSION

       The Court should grant the Summary Judgment Motion.


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                                       Certificate of Service

       I hereby certify that a true and correct copy of the foregoing was served via CM/ECF to

Brian J. Recor, Esq. on August 17, 2018.

                                              /s/ Michael S. Hoffman
                                              Michael S. Hoffman
